






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-08-00440-CR






Marcus Jerome Blackman, Appellant


v.


The State of Texas, Appellee






FROM THE DISTRICT COURT OF BELL COUNTY, 264TH JUDICIAL DISTRICT

NO. 61821, HONORABLE FANCY H. JEZEK, JUDGE PRESIDING





M E M O R A N D U M   O P I N I O N


		Marcus Jerome Blackmun pleaded guilty to the offense of attempted burglary of a
habitation.  See Tex. Penal Code § 30.02 (West 2003).  The district court deferred adjudication
and&nbsp;placed Blackmun on community supervision for five years.  Subsequently, the State filed
a&nbsp;motion to adjudicate.  At the hearing on the State's motion, Blackmun pleaded true to violating
18&nbsp;conditions of his community supervision.  The district court found the allegations in the State's
motion to be true, adjudicated Blackmun guilty, and sentenced him to ten years' imprisonment.

		Appellant's court-appointed attorney has filed a motion to withdraw and a brief
concluding that the appeal is frivolous and without merit.  The brief meets the requirements of
Anders v. California, 386 U.S. 738 (1967), by presenting a professional evaluation of the
record&nbsp;demonstrating why there are no arguable grounds to be advanced.  See also Penson v. Ohio,
488 U.S. 75 (1988); High v. State, 573 S.W.2d 807 (Tex. Crim. App. 1978); Currie v. State,
516&nbsp;S.W.2d 684 (Tex. Crim. App. 1974); Jackson v. State, 485 S.W.2d 553 (Tex. Crim. App. 1972);
Gainous v. State, 436 S.W.2d 137 (Tex. Crim. App. 1969).  Appellant received a copy of counsel's
brief and was advised of his right to examine the appellate record and to file a pro se brief.  No pro&nbsp;se
brief has been filed.

		We have reviewed the record and counsel's brief and agree that the appeal is frivolous
and without merit.  We find nothing in the record that might arguably support the appeal.  Counsel's
motion to withdraw is granted.

		The judgment of conviction is affirmed.



						__________________________________________

						Bob Pemberton, Justice

Before Chief Justice Law, Justices Puryear and Pemberton

Affirmed

Filed:   October 17, 2008

Do Not Publish


